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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


 HEIDI ROBINSON,

        Plaintiff,

 v.                                                CASE NO.: 8:17-cv-000111-SCB-TBM


 COMENITY LLC d/b/a COMENITY BANK.,

        Defendant.

_____________________________________________________________________________

                           NOTICE OF PENDING SETTLEMENT


       PLAINTIFF, HEIDI ROBINSON, by and through her undersigned counsel, hereby

submits this Notice of Settlement and states that Plaintiff, HEIDI ROBINSON, and Defendant,

COMENITY LLC d/b/a COMENITY BANK, have reached a settlement with regard to this case

and are presently drafting, finalizing, and executing the settlement and dismissal documents. Upon

execution of same, the parties will file the appropriate dismissal documents with the Court.

                                               /s/Amanda J. Allen, Esq.
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on June 5, 2017, the foregoing was served using the CM/ECF

system, which will provide electronic notice of filing to all counsel of record.

                                                  /s/Amanda J. Allen, Esq.
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